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                         UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION


 MICHAEL R. MCNEIL,

                     Plaintiff,

 v.                                               Case No. 6:23-cv-2299-ACC-DCI

 T&M HEATH PROPERTY
 MANAGEMENT LLC and
 NUTRICOST LLC,

                     Defendants.


                              ORDER OF DISMISSAL

       The Court has been advised by counsel for Plaintiff that the above-styled

 action has been settled. Accordingly, pursuant to Local Rule 3.09(b) M.D. Fla., it is

       ORDERED AND ADJUDGED that this cause is hereby DISMISSED

 without prejudice and subject to the right of the parties, within sixty (60) days of the

 date of this order, to submit a stipulated form of final order or judgment should they

 so choose or for any party to move to reopen the action, upon good cause shown.

 After that 60-day period, however, dismissal shall be with prejudice. Any pending

 motions are denied as moot and the Clerk is directed to close the file.
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      DONE and ORDERED in Chambers, in Orlando, Florida on January 2, 2024.




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 Counsel of Record




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